                  Case 1:12-cr-00040-LJO-SKO Document 131 Filed 12/03/14     Page 1 of 1
AO 247 (Rev. 11/11) Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)
                                                                     Page 1 of 2 (Page 2 Not for Public Disclosure)


                                      UNITED STATES DISTRICT COURT
                                                                        for the
                                                           Eastern District of California

                    United States of America
                               v.                                          )
                                                                           )    Case No:       1:12-CR-00040-002 LJO
                    LUIS JAVIER FREGOSO                                    )
                                                                           )    USM No: 17142-111
Date of Original Judgment:         September 3, 2013                       )
Date of Previous Amended Judgment:                                         )    David M. Porter
(Use Date of Last Amended Judgment if Any)                                      Defendant’s Attorney

                  ORDER REGARDING MOTION FOR SENTENCE REDUCTION
                           PURSUANT TO 18 U.S.C. § 3582(c)(2)
        Upon motion of √ the defendant           the Director of the Bureau of Prisons       the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion, and taking into account the policy statement set forth at USSG §1B1.10
and the sentencing factors set forth in 18 U.S.C. § 3553(a), to the extent that they are applicable,
IT IS ORDERED that the motion is:
              DENIED.        √ GRANTED and the defendant’s previously imposed sentence of imprisonment (as reflected in
the last judgment issued) of          54               months is reduced to               43 months.             .
                                              (Complete Parts I and II of Page 2 when motion is granted)




Except as otherwise provided, all provisions of the judgment dated                            9/6/2013        shall remain in effect.
IT IS SO ORDERED.




Effective Date:               11/1/2015                                                          /s/ Lawrence J. O’Neill,
                     (if different from order date)                             Lawrence J. O’Neill, United States District Judge
